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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-CV-02887-JLK-MEH


  ALEJANDRO MENOCAL, et al.,

           Plaintiffs,

  v.

  THE GEO GROUP, INC.,

           Defendant.


           STIPULATED MOTION FOR EXTENSION OF TIME TO FILE AMENDED
                    PROPOSED STIPULATED SCHEDULING ORDER


           The parties, by and through their respective undersigned counsel, submit the following

  Stipulated Motion for Extension of Time to File Amended Proposed Stipulated Scheduling

  Order:

           1.      In the Court’s June 6, 2017, Order Granting in Part and Denying in Part The GEO

  Group, Inc. (“GEO”)’s Motion to Stay Proceedings Pending Rule 23(f) Review (ECF No. 85),

  the Court stayed discovery on class action issues pending the Rule 23(f) appeal, but allowed

  discovery related to liability and merits issues as to the named plaintiffs to proceed in accordance

  with Rule 26.

           2.      After the Tenth Circuit affirmed the Court’s Order granting class certification, the

  Court ordered the parties to submit an Amended Proposed Stipulated Scheduling Order

  proposing a schedule for class discovery no later than March 12, 2018. (ECF. No. 116.)
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          3.     The Court also referred this case to Magistrate Judge Hegarty to conduct such

  conferences and proceedings as he deems appropriate for purposes of settlement. (ECF. No.

  116.)

          4.     On February 13, 2018, Magistrate Judge Hegarty ordered the parties to schedule a

  Settlement Conference. (ECF. No. 117.)

          5.     Magistrate Judge Hegarty and the parties scheduled a Settlement Conference for

  May 2, 2018. (ECF. No. 121).

          6.     The parties have completed substantial written discovery and document

  production and have conducted the depositions of several of the class representatives. The parties

  have and will continue to work cooperatively in conducting discovery and will make their best

  efforts to resolve discovery issues without the assistance of the Court.

          7.     Moving into the next stage of discovery, the parties expect that the Amended

  Proposed Stipulated Scheduling Order will address important topics including class notice and

  discovery from absentee class members. However, the parties intend to devote substantial

  resources to preparing for a productive mediation on May 2, including negotiating and

  exchanging information relating to liability and damages. In light of the time required for such

  preparation and exchange, the parties believe it is in the best interests of the class and GEO to

  focus on issues related to the Settlement Conference. The parties therefore request that the Court

  allow them to file an Amended Proposed Stipulated Scheduling Order by no later than June 1,

  2018.

          8.     In order to focus their resources on preparing for the settlement conference, the

  parties have agreed that the remaining depositions, including a Rule 30(b)(6) deposition and an
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  agreed-upon Rule 34 inspection, will occur after the settlement conference should the parties not

  reach terms of settlement.

         9.      This stipulation is filed in advance of the current deadline to file the Amended

  Proposed Stipulated Scheduling Order, and is not being interposed for purposes of undue delay.

  No party will be prejudiced by the requested extension.        The parties have not previously

  requested an extension to file the Amended Proposed Stipulated Scheduling Order.

         10.     In accordance with D.C.COLO.LCivR 6.1(c), a copy of this Stipulated Motion is

  being contemporaneously provided to Plaintiffs and Defendant by their respective counsel.

         WHEREFORE, the parties respectfully request that the Court extend the deadline to file

  an Amended Proposed Stipulated Scheduling Order to and through June 1, 2018.




         Respectfully submitted this 9th day of March, 2018.

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of March, 2018, I electronically filed the foregoing
  STIPULATED MOTION TO EXTEND DISCOVERY CUT-OFF with the Clerk of Court
  using the CM/ECF system which will send notification of such filing to the following or
  deposited a copy of the filing in the United States mail, postage prepaid, addressed as follows:


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